                  UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


MICHAEL J. LINDELL,                          NOTICE OF CHANGE OF ADDRESS
                                             AND LAW FIRM

               Plaintiff,                    Case No:       0:21-cv-01332

v.

US DOMINION, INC.,
DOMINION VOTING SYSTEMS, INC.,
DOMINION VOTING SYSTEMS
CORPORATION, SMARTMATIC USA
CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V., and
SGO CORPORATION LIMITED,

               Defendants.


Pursuant to Rule 83.5(a)(1) of the Local Rules of the United States District Court for the
District of Minnesota, the undersigned counsel hereby notifies the Court and counsel that
Alec J. Beck has changed his firm affiliation and contact information as follows:

       Alec Beck
       Attorney at Law
       PO Box 13325
       Minneapolis MN 55414

No attorney from Barnes &Thornburg LLP remains of record and the firm’s appearance
is thus withdrawn.


Dated: June 4, 2021                          s/Alec J. Beck
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